

Feldman v Hodgson Russ, LLP (2022 NY Slip Op 02711)





Feldman v Hodgson Russ, LLP


2022 NY Slip Op 02711


Decided on April 22, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 22, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: PERADOTTO, J.P., LINDLEY, CURRAN, WINSLOW, AND BANNISTER, JJ.


381 CA 21-00391

[*1]DORON FELDMAN AND DEBORAH ANN FELDMAN, PLAINTIFFS-APPELLANTS,
vHODGSON RUSS, LLP, AND DANIEL C. OLIVERIO, ESQ., DEFENDANTS-RESPONDENTS. (APPEAL NO. 1.) 






ZOLDAN ASSOCIATES, LLC, BALA CYNWYD, PENNSYLVANIA (KENNETH J. ZOLDAN, OF THE PENNSYLVANIA BAR, ADMITTED PRO HAC VICE, OF COUNSEL), FOR PLAINTIFFS-APPELLANTS.
HAGERTY &amp; BRADY, BUFFALO (MICHAEL A. BRADY OF COUNSEL), FOR DEFENDANTS-RESPONDENTS. 


	Appeal from an order of the Supreme Court, Monroe County (William K. Taylor, J.), entered February 5, 2021. The order granted the motion of defendants to dismiss the amended complaint and dismissed the amended complaint. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs for reasons stated in the decision at Supreme Court.
Entered: April 22, 2022
Ann Dillon Flynn
Clerk of the Court








